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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 7

HERITAGE HOME GROUP, LLC, et al.,1                                     Case No. 18-11736 (BLS)

                                Debtors.                               (Jointly Administered)



ALFRED T. GIULIANO, in his capacity as                                 Adv. Proc. No. 20-50766 (BLS)
Chapter 7 Trustee of HERITAGE HOME GROUP,
LLC ,et al.,

                               Plaintiff,

vs.

AKZO NOBEL COATINGS INC.,

                               Defendant.

 ORDER APPROVING STIPULATION FURTHER EXTENDING DEADLINE FOR
           DEFENDANT TO RESPOND TO THE COMPLAINT

         Upon consideration of the Stipulation Further Extending the Deadline for

Defendant to Respond to the Complaint (the “Stipulation”), set forth hereto as Exhibit A, it

is hereby ORDERED THAT, the Stipulation is APPROVED.




Dated: December 14th, 2020                       BRENDAN L. SHANNON
Wilmington, Delaware                             UNITED STATES BANKRUPTCY JUDGE




1
  The Debtors in these cases, along with the last four digits of each Debtor’s tax identification numbers, are:
Heritage Home Group LLC (9506); HH Global II B.V. (0165); HH Group Holdings US, Inc. (7206); HHG
Real Property LLC (3221); and HHG Global Designs LLC (1150). The Debtors’ corporate headquarters was
located at 1925 Eastchester Drive, High Point, North Carolina 27265.


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